                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

TRINITY PRINT & MEDIA, INC.,
A Florida corporation, VIBEY.COM, LLC,
a Florida limited liability company, and
TURTLE MEDIA GROUP, LLC,
a Florida limited liability company.

       Plaintiffs,
                                               Case No.
 v.                                            8:23-cv-00449-MSS-JSS

ROMAN ROMANYUK, an adult
individual, MIRZA POLOVINA, an adult
individual, RUCKUS VENTURES LLC,
a Washington limited liability company,
and PREZNA LLC, a Washington
limited liability company,

     Defendants.
___________________________________
/

                     DECLARATION OF ROMAN ROMANYUK

      I,   ROMAN ROMANYUK, do hereby swear and affirm under the

penalties of perjury that the following information in this Declaration is true

and correct and if called as a witness, I would competently testify under oath

thereto.

      1.    This Declaration is made from my personal knowledge.

      2.    Declarant is over the age of 18.
        3.   Declarant graduated Kentridge High School in 2009 and received

a Bachelor’s of Business Administration with a concentration in Technology

& Innovation Management from the University of Washington, Bothell, in

2012.

        4.   Declarant started as a sole proprietor in 2006 building websites

and freelancing. In 2009, Declarant became a serial entrepreneur who has a

passion for early stage startups. Declarant is very active in the Seattle

metropolitan startup community both as an operator and as a mentor to

startups.

        5.   Declarant was the Sole Owner of VIBEY.COM, LLC (“Vibey”) from

November 2, 2016 to September 23, 2022.

        6.    Declarant is the Sole Owner of RUCKUS VENTURES LLC

(“Ruckus”), from October 25, 2017 to present.

        7.   Declarant is the General Partner of PREZNA, LLC (“Prezna”) from

January 6, 2016 to present.

        8.   Declarant has honored all covenants in the two LLC Membership

Unit Sale and Purchase Agreements executed on or about September 23,

2022 (collectively “Agreements”).




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     9.       TRINITY PRINT & MEDIA, INC. (“Trinity”), VIBEY.COM, LLC

(“Vibey”) and TURTLE MEDIA GROUP, LLC (“Turtle”) (collectively “Plaintiffs”)

and Gurjot Batra (“Gurjot”) and Noam Poupko (“Poupko”) were fully aware

that Declarant owned competing websites such as http://funnyand.com and

others — that is why non-compete clauses are not included in the

Agreements.

     10.   Poupko, as Vice President of Digital Marketing for Trinity,

changed the business model of the websites http://worldlifestyle.com

(“WorldLifestyle.com”) and http://lifebuzz.com (“LifeBuzz.com”) (collectively

“the websites”) and ignored best practices recommended by Declarant

during transition which resulted in weaker performance.

     11.   Poupko has a history of running businesses into the ground.

     12.   On information and belief, Poupko has had to file personal

bankruptcy.

     13.   Two of his previous businesses were failures, to wit, Z Lifestyle

LLC and Ads Direct Media, Inc.

     14.   Another failure was Worldlifestyle.com, which was formerly

owned by Poupko.




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      15.   Because    of       Poupko’s       poor   performance   in   running

Worldlifestyle.com, he was forced to hire Declarant as a contractor to

stabilize Worldlifestyle.com.

      16.   Declarant was able to stabilize Worldlifestyle.com; however,

Poupko was unable to pay Declarant for his services.

      17.   In May 2020 Poupko suggested that Declarant purchase

Worldlifestyle.com.

      18.   Since Declarant saw little likelihood that Declarant could collect

the large balance Declarant was owed any time in the foreseeable future,

Declarant agreed to purchase Worldlifestyle.com from Poupko.

      19.   As part of the purchase price, Poupko’s debt to Declarant was

forgiven.

      20.   Declarant turned the failing business around one month after

purchasing it from Poupko.

      21.   Over the next two and a half years Worldlifestyle.com was

profitable almost every month.

      22.   In 2022, Poupko called Declarant out of the blue and said that he

had someone who wanted to buy two of Declarant’s businesses. Poupko said

he did not have the funds to purchase Worldlifestyle.com back for himself,




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but he was working with Gurjot who, as an entrepreneur/investor, had

sufficient funds and/or borrowing power to make the purchase.

      23.   Poupko scheduled a call with Gurjot and Declarant.

      24.   After several calls, Gurjot began the due diligence process.

      25.   On September 23, 2022, Gurjot purchased Vibey and Turtle which

are Worldlifestyle.com and Lifebuzz.com.

      26.   Poupko became Vice President of Digital Marketing for Vibey and

Turtle. He began working with Declarant during the transition.

      27.   For the first several weeks, Poupko and Declarant were in

frequent communication. By the end of the second month, Poupko was in

total control of the websites.

      28.   During    the   transition   period,   Poupko   exhibited   sloppy,

unorganized and careless behavior.

      29.   Declarant told him that management of the websites demanded

detailed orientation to be successful. Declarant suggested that Poupko

needed to get an assistant or another executive because in this business

details matter.




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        30.   During the first month, Declarant helped him keep the business

afloat and it was doing fine. As soon as Declarant left, however, Poupko

started making big changes that hurt the bottom line.

        31.   On information and belief, Poupko has 5 or more children.

        32.   Declarant observed that Poupko simply did not have the time or

energy to run the websites properly on his own.

        33.   It is a full-time job which requires the manager to be extremely

detail oriented, communicating regularly with the media buying teams and

giving them support to make sure everything is running smoothly — Poupko

exhibited none of these qualities when Declarant worked with him in 2020 or

2022.

        34.   Directly following the sale, Poupko was notified how to operate

the websites and the things he needed to do consistently to keep the

websites profitable, especially during Quarter 4 (Q4) which is the strongest

quarter of the year. One task was scanning and blocking high click through

(CTR) advertisers which would hurt the sites’ profitability and appear more

frequently in Q4.

        35.   Poupko ignored this crucial task and did not keep track of these

bad advertisers. For the first month after the sale, Declarant helped and




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blocked these advertisers. Declarant also provided Poupko with video guides

on how to complete the task. Notwithstanding that assistance, bad

advertisers continued showing up on the websites well into December which

hurt the site’s profitability. Poupko was told multiple times to scan and block

these advertisers weekly, but he ignored Declarant’s recommendations.

      36.   In November 2022, Poupko started buying significant traffic to an

infinite scroll layout and grew it to over 70% of the traffic on the websites.

This effectively changed the business model of the websites as the

Defendants strictly ran a Paginated Layout which was the entirety of their

success with the websites. A Paginated Layout entails showing a navigation

button at the bottom of each slide which directs the reader to the next page

of the article. Paginated Layouts result in higher revenue per session (RPS)

and in turn higher advertising rates. An Infinite Scroll Layout entails a

content structure that allows the user to scroll infinitely through the article

without having to click on a navigation button. Infinite Scroll Layouts have a

lower RPS because of lower advertising rates. The websites were running

solely a Paginated Layout which resulted in higher advertising rates. When

Poupko introduced an Infinite Scroll Layout, the advertising rates on the

Paginated Layout fell dramatically. All of this was explained to Poupko by




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Defendants multiple times, but he continued running an Infinite Scroll

Layout. This made all previous advertising campaigns that transferred to the

Plaintiffs unprofitable and all media buying efforts unsuccessful.

      37.    Poupko        also   started       buying   significant   traffic   from

Geos/Countries. Defendants purchased the majority of United States traffic,

while now Poupko has been buying Canadian, United Kingdom and

Australian traffic among others — all of which pay much lower advertising

rates than U.S. traffic.

      38.    During the transition, Poupko did not follow company protocol

when adding new media buying teams or new advertising accounts for

existing media buyers. Poupko was made aware that if he adds additional

media buying team members or creates new advertising accounts, he should

document that in the company Google Docs files and notify Vadym Lykinskyi

who is in charge of data entry.

      39.    On January 24, 2023, Poupko switched the content management

system (CMS) without notifying anyone on the media buying and campaign

creations team. Worldlifestyle.com was down for the day causing thousands

of dollars in losses. This could have been completely avoided by




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communicating with the media buying teams, which would have paused

campaigns while they made the switch.

      40.   Since the sale there has been no activity on Lifebuzz.com. The

wise thing would have been to test all of these changes on Lifebuzz.com and

not Worldlifestyle.com which was running profitably before all of Poupko’s

changes post-sale. Plaintiffs did not reach out to Declarant or Mirza with any

questions related to the websites. They let Poupko control everything.

      41.   Based on Declarant’s observations and experience, this has

proven to be the main reason behind the decline of the site.

      42.   Plaintiffs fully understood that the Defendants would remain in

competing businesses and proceeded forward with that understanding.

      43.   The Plaintiffs’ claim that Defendants infringed on their copyright

is without merit.

      44.    The Plaintiffs’ “first use dates” contained in Poupko’s Declaration

(Doc. 9) were obtained from an unreliable ad spy tool that only approximates

the date an advertising campaign went live, and does not accurately reflect

the actual date of publication.

      45.   The listing set forth below together with the attached exhibits

accurately reflect the actual date of publication of the articles in question.




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This conclusively demonstrates that they were first published by

FunnyAnd.com -- much earlier than the “first use dates” contained in

Poupko’s Declaration.

           a.   Article #1, Worldlifestyle.com publish date was January
                16, 2023 while on FunnyAnd.com it was published on
                August 31, 2021. (Attached hereto as Exhibit “A.”)

           b.   Article #2, Worldlifestyle.com publish date was
                January 16, 2023 while on FunnyAnd.com it was
                published on June 16, 2021. (Attached hereto as Exhibit
                “B.”)

           c.   Article #3, Worldlifestyle.com publish date was January
                31, 2023 while on FunnyAnd.com it was published on
                November 8, 2021. (Attached hereto as Exhibit “C.”)

           d.   Article #4, Worldlifestyle.com publish date was
                February 1, 2023 while on FunnyAnd.com it was
                published on December 21, 2020. (Attached hereto as
                Exhibit “D.”)

           e.   Article #5, Worldlifestyle.com publish date was
                February 10, 2023 while on FunnyAnd.com it was
                published on December 14, 2020. (Attached hereto as
                Exhibit “E.”)

           f.   Article #6, Worldlifestyle.com publish date was
                February 1, 2023 while on FunnyAnd.com it was
                published on December 13, 2020. (Attached hereto as
                Exhibit “F.”)

           g.   Article #7, Worldlifestyle.com publish date was January
                16, 2023 while on FunnyAnd.com it was published on
                November 11, 2022. (Attached hereto as Exhibit “G.”)




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           h.    Article #8, Worldlifestyle.com publish date was
                 January 16, 2023 while on FunnyAnd.com it was
                 published on January 13, 2023. (Attached hereto as
                 Exhibit “H.”)

           i.    Article #9, Worldlifestyle.com publish date was
                 January 16, 2023 while on FunnyAnd.com it was
                 published on December 13, 2020. (Attached hereto as
                 Exhibit “I.”)

           j.    Article #10, Worldlifestyle.com publish date was
                 January 17, 2023 while on FunnyAnd.com it was
                 published on April 20, 2021. (Attached hereto as
                 Exhibit “J.”)

           k.    Article #11, Worldlifestyle.com publish date was
                 February 24, 2023 while on FunnyAnd.com it was
                 published on January 27, 2023. (Attached hereto as
                 Exhibit “K.”)

           l.    Article #12, Worldlifestyle.com publish date was
                 February 24, 2023 while on FunnyAnd.com it was
                 published on January 6, 2023. (Attached hereto as
                 Exhibit “L.”)

           m. Article #13, Worldlifestyle.com publish date was
              February 24, 2023 while on FunnyAnd.com it was
              published on February 16, 2023. (Attached hereto as
              Exhibit “M.”)

           n.    Article #14, Worldlifestyle.com publish date was
                 January 15, 2023 while on FunnyAnd.com it was
                 published on February 27, 2022. (Attached hereto as
                 Exhibit “N.”)

     46.        None of the articles contained/referenced in Poupko’s

Declaration were copied by Defendants from Worldlifestyle.com


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     47.   Contrary to what the Plaintiffs claim, the utm_medium does not

represent a specific media buyer. Correlation of the words “Preznataboola” in

utm_medium does not imply it is the same media buyer working on

Funnyand as Worldlifestyle. Utm_medium sharing commonalities does not

mean there is a relationship between them. Both websites FunnyAnd and

Worldlifestyle used the Defendants Media Buying management platform

Prezna.com. The Defendants simply used the word from their media buying

software “Prezna” inside of the utm_medium, followed by the advertising

network they were buying on, “Taboola.” Declarant started using the

utm_medium=preznataboola on Worldlifestyle. And now on FunnyAnd he

uses the same utm_medium on Funnyand solely out of convenience. You can

put anything in utm_medium. Giraffe, elephant, etc.

     48.   The Defendants did not conceal the last names of their media

buyers. Poupko was introduced and made aware Mahir Polovina was the

brother of Mirza, and Poupko had no problems with this.

     49.   Poupko was also aware that Vadym Lykinskyi and Oksana are

cousins of Declarant.




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      50.   Any claims about Defendants concealing names/relationships of

employees/media buyers/consultants by the Plaintiffs is unfounded and

without merit.

      51.   The Plaintiffs’ claim that the media buyers transferred to them

were still employed by Prezna after the sale is false.

      52.   Mahir Polovina does not work as a media buyer for Defendants.

      53.    Mahir Polovina has not worked for any of the Defendants as a

media buyer since September 2022.

      54.   Paritosh Singh does not work as a media buyer for Defendants.

      55.    Paritosh Singh has not worked for any of the Defendants as a

media buyer since September 2022.

      56.   None of the Defendants ever, directly or indirectly, attempted to

solicit, induce, recruit or hire either Mahir Polovina or Paritosh Singh to

become employed with any entity which is engaged in the same or similar

business in which the Plaintiffs are engaged after September 2022.

      57.   None of the Defendants ever, directly or indirectly, solicited,

induced or recruited either Mahir Polovina or Paritosh Singh for the purpose

of joining, associating or becoming employed with any entity which is




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engaged in the same or similar business in which the Plaintiffs are engaged

since September 2022.

      58.   Since   September        2022,    none   of   the   Defendants   were

simultaneously working with either Mahir Polovina or Paritosh Singh

involving any entity which is engaged in the same or a similar business in

which the Plaintiffs are engaged.

      59.   Neither Mahir Polovina or Paritosh Singh have performed any

work or media buying services for Funnyand.com since September 2022.

      60.   Defendants fully complied with all contractual obligations

regarding the transfer of the media buyers, and any suggestion to the

contrary is without factual basis.


      Under penalties of perjury, I declare that I have read the foregoing

Declaration and that the facts stated herein are true and correct.

Dated: March 31, 2023




                                       ___________________________________
                                        ROMAN ROMANYUK




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